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                  EXHIBIT B-098
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                    IN THE SUPERIOR COURT OF FULTON COUNTY...--------
                                                                                    FILED IN OFFICE
                                     ST ATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
In the Matter of Witness                      )       Judge Robert C. I. McBurney
Willie Lewis Floyd III                        )


  AMENDED CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM
   ACT TO SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE
  STATE, CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant

to the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

        I. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G./\.. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that Willie Lewis Floyd III, also known

    as Harrison William Prescott Floyd III, born November 9, 1984, (hereinafter, "the

    Witness") is a necessary and material witness to the Special Purpose Grand Jury's

    investigation. The Court further finds that the Witness currently resides in Adelphi,

    Prince George's County, Maryland.

 4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that in the months leading up to the

    November 2020 election in Georgia, the Witness was a director of Black Voices for

    Trump, a coalition between the Trump Campaign and others aimed at increasing

    former President Trump's support among Black voters.

 17. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that on or about December 21, 2021,

    the Witness stated to Reuters that sometime after the November 2020 election, the

    Witness was asked by an unidentified man, described by the Witness as a chaplain
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    with federal law enforcement connections, to arrange a meeting with Ruby Freeman,

    a Fulton County election worker who had been publicly accused of committing

    election fraud by individuals associated with the Trump Campaign. According to the

    Witness, the purpose of the meeting was to discuss a purported "immunity deal" with

    Freeman. The Witness then arranged for Trevian Kutti, a purported publicist based in

    Chicago, Illinois, to meet with Freeman.

 5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Special Purpose Grand Jury's

    investigation has revealed that on January 4, 2021, Kutti traveled from Chicago to

    Freeman's home in Georgia to attempt to meet with her. Freeman initially declined to

    meet with Kutti, but the two subsequently met that evening at a Cobb County Police

    Department precinct after Cobb County Police Department officers responded to

    Freeman's home. The District Attorney has reviewed video footage showing that

    prior to the meeting, Kutti made statements to Freeman via telephone indicating that

    "an armed squad of federal" officers would "approach" Freeman and her family

    within 48 hours and that Kutti had access to "very high-profile people that can make

    particular things happen ... in order to defend yourself and your family."

 6. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that during the meeting at the Cobb

    County Police Department, which was captured in part on body worn camera footage

    reviewed by the District Attorney, Kutti made similar statements, indicating to
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    Freeman that her "freedom ... and the freedom of one or more of your family

    members" would be disrupted if Freeman declined her assistance and that Freeman

    was "a loose end for a party that needs to tidy up." Kutti also stated her intent to

    connect Freeman with the Witness, referring to him as "a Black progressive crisis

    manager, very high level, with authoritative powers to get you protection that you

    need." After making these statements, Kutti made a lengthy telephone call to the

    Witness on speakerphone so that he could join in the conversation with Freeman.

    During the telephone conversation, in the presence of the Witness, Freeman was

    pressured to reveal information under the threat of incarceration if she did not

    comply.

 7. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that based on information received by

    the Special Purpose Grand Jury, the Witness appears to have been the primary person

    responsible for putting Kutti in touch with Freeman in order to facility these

    conversations.

 8. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness, based on his

    relationship with and knowledge of Trevian Kutti, is a necessary and material

    witness. The Witness possesses unique knowledge concerning the substance of

    Kutti's conversations with Ruby Freeman, the circumstances surrounding his decision

    to connect Kutti with Freeman, the logistics of setting up the meeting between Kutti
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    and Freeman, and any communications between himself, others involved in the

    planning and execution of the meeting, the Trump Campaign, and other known and

    unknown individuals involved in the multi-state, coordinated efforts to influence the

    results of the November 2020 election in Georgia and elsewhere. Finally, the

    Witness's anticipated testimony is essential in that it is likely to reveal additional

    sources of information regarding the subject of this investigation.

 9. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 10. The Witness will be required to be in attend_anceand testify before the Special

    Purpose Grand Jury for a period of one (1) day, which shall be scheduled on any

    Tuesday, Wednesday, or Thursday, no earlier than November 10, 2022, and no later

    than December 15, 2022, at the Superior Court of Fulton County, Fulton County

    Courthouse, 136 Pryor Street, 3rd Floor, Atlanta, Georgia 30303.

 11. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 12. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states, while

    traveling to and from this Court for the purpose of testifying for this case.
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       13. The State of Georgia is a participant in a reciprocal program providing for the

           securing of witnesses to testify in foreign jurisdictions which likewise provide for

           such methods of securing witnesses to testify in their courts.

       14. This Certificate is made for the purpose of being presented to a judge Circuit Court

           for Prince George's County, Seventh Judicial Circuit, Maryland, by the State's

           Attorney for Prince George's County or her duly authorized representative, who is

           proceeding at the request and on behalf of the Office of the Fulton County District

           Attorney.

       WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,
               c}


                                                 r
       This the W-_ day of September, 2022.




                                                                              rncy
                                                     Superior Court of Fulton County
                                                     Atlanta Judicial Circuit
                                                     State of Georgia
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                     Exhibit A
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IN RE: REQUEST FOR
       SPECIAL PURJE'OSE
        GRAND JURY

              ORDER APPROVING REQUEST FOR SPECIAL PURPOSE
              GRAND JURY PURSUANT TO O.C.G.A. §15-12-100,et seo.

       The District Attorney for the AtlantaJudicialCircuitsubmitted to the judges of the

Superior Court of Fulton County a request lo impanela specialpurposejury for the purposesset

forth in that request. 'Dlis requestwas consideredand approvedby a majority of the total

number of the judges of this Court, as requiredby O.C.G.A.§15-12-I00(b).

       IT [S THEREFORE ORDEREDthat a specialpurposegrandjury be drawn and

impaneled to serve as provided in O.C.G.A.§ 15-12,62.I, 15-12-67,and 15-12-100,to

commenceon May 2, 2022, and continuingfor a periodnot to exceed 12 months. Such period

shall not include any time periodswhen the supervisingjudge detennines that the special

purpose grandjury cannot meet for safety or other reasons,or any time periods when normal

court operations are suspendedby order of the SupremeCourt of Georgia or the Chief Judgeof

the Superior Court The special purposegrandjury shall be authorizedto investigate any and all

facts and circumstancesrelating directlyor indirectlyto allegedviolations of the laws of the

State of Georgia, as set forth in the request of the DistrictAttorneyreferenced herein above.

       Pursuant to O.C.G.A. § 15-12-I0I(a), theHonorableRobertC. I. McBumeyishereby

assigned to supervise and assist the special purposegrandjmy, and shall charge said special

purpose grandjury and receive its reports as providedby law.
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       This authorization shall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-10 I, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions of0.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of ctimina! matters that has accumulated as a

result of the COVID-19 Pandemic.

        IT IS FURTHER Ory.,""'-'l,t:,DJQ_at
                                    ·,.•
the Superior Court of Fulto Count;y.~
                                            "'
                                         this Order shall be filed in the Office of the Clerk of

                                              '\

        SOORDERED,TH~                      A~a,


                               CHRISTOP          S. BRASHER;@IIEF mDGE
                               Superior Court of Fulton County
                               Atlanta Judicial Circuit
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                        Exhibit B
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                  OFFICE OF THE FULTON COUN1Y DISTRICTATTORNEY
                              ATLANTA JUDICIAL CIRCUIT
                           136PRYORSTREETSW,3RD FLOOR
                               ATLANTA, GEORGIA30303
~I(    T,(5}fr%,;                                          TELEPHONE404-612-4639
DiscriccAccorney



      The HonorableChristopher S. Brasher
                                                                             tDi'l·-fX-           DODD/7
      ChiefJudge, Fulton County SuperiorCourt                                  FILED IN OFFICE
      FultonCounty Courthouse                                                                        J)
      185CentralAvenue SW, Suite T-8905
      Atlanta, Georgia30303

      January20, 2022

      Dear Chief Judge Brasher:

      I hope this letter finds you well and in good spirits.Pleasebe advisedthat the DistrictAttorney's
      Officehas received information indicatinga reasonableprobabilitythat the State of Georgia's
      administrationof elections in 2020, includingthe State's electionof the Presidentof the United
      States,was subject to possible criminaldisruptions.Our officehas also learned that individuals
      associatedwith these disruptionshave contactedother agenciesempoweredto investigatethis
      matter,includingthe Georgia Secretaryof State,the GeorgiaAttorneyGeneral,and the United
      StatesAttorney's Office for the NorthernDistrictof Georgia,leaving thisoffice as the sole
      agencywithjurisdiction that is not a potentialwitnessto conductrelated to the matter.As a
      result,our officehas opened an investigationinto any coordinatedattempts to unlawfullyalter
      the outcomeof the 2020 electionsin this state.

      Wehave made efforts to interviewmultiple witnessesand gatherevidence,and a significant
      numberof witnessesand prospectivewitnesseshave refusedto cooperatewith the investigation
      absenta subpoenarequiring their testimony.By way of example,GeorgiaSecretaryof State
      Brad Raffensperger,an essential witnessto the investigation,has indicatedthat he will not
      participatein an interview or otherwiseoffer evidenceuntil he is presentedwith a subpoenaby
      my office.Please see Exhibit A, attachedto this Jetter.

      Therefore,I am hereby requesting,as the elected DistrictAttorneyfor Fulton County,pursuant
      to O.C.G.A.§ 15-12-100et. seq., that a special purposegrandjury be impaneledfor the purpose
      ofinvestigatingthe facts and circumstancesrelating directlyor indirectlyto possible attemptsto
      disruptthe lawfuladministrationof the 2020 electionsin the State of Georgia. Specifically,a
      specialpurpose grandjury, which will not have the authorityto return an indictmentbut may
      makerecommendationsconcerningcriminalprosecutionas it shall see fit, is needed for three
      reasons:first, a special purpose grandjury can be impaneledby the Court for any time period
      requiredin order to accomplish its investigation,which will likely exceed a normal grandjury
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 term;second, the special purpose grandjury wouldbe empoweredto reviewthis matter and this
 matteronly, with an investigatoryfocus appropriateto the complexityof the facts and
 circumstancesinvoived; and third, the sittinggrandjury wouldnot be requiredto attempt to
 addressthis matter in addition to their normalduties.

 Additionally,I am requesting that, pursuantto 0.C.G.A. § 15-12-101,a Fulton CountySuperior
 CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
 investigationand duties.

 I have attacheda proposed order impanelingthespecialpurposegrandjury for the consideration
 of the Court.

~spectfult,           /
    •. \ hJ~l
              ey, Atlanta Judicial Circuit

 ExhibitA: Transcriptof October 31, 2021 episodeof Meet the Press on NBC News at 26:04
 (videoarchivedat https://www.youtube.com/watch?v=B7!cBRPgt9k)
 ExhibitB: Proposed Order

 cc:
 TheHonorableKimberly M. EsmondAdams
 The HonorableJane C. Barwick
 The HonorableRachelle Carnesdale
 The HonorableThomas A. Cox, Jr.
 The HonorableEric Dunaway
 The HonorableCharles M. Eaton, Jr.
 The HonorableBelinda E. Edwards
 The HonorableKelly Lee Ellerbe
 The HonorableKevin M. Farmer
 TheHonorableUral Glanville
 TheHonorableShakura L. Ingram
 The HonorableRachel R. Krause
 The HonorableMeiynee Leftridge
 The HonorableRobert C.I. :tvicBumey
 The HonorableHemy M. Newkirk
 The HonorableEmily K. Richardson
 The HonorableCraig L. Schwail, Sr.
 The HonorablePaige Reese Whitaker
 The HonorableShem1elaJ. \Villiams
 FultonCounty Clerk of Superior Court,Cathelene"Tina" Robinson
